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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                   CRIMINAL MINUTES - ARRAIGNMENT
 Case Number: 2:18-CR-00876                       Recorder: CS 02/19/2019                          Date: 02/19/2019

 Present: The Honorable Suzanne H. Segal, U.S. Magistrate Judge

 Court Clerk: Connie Chung                                      Assistant U.S. Attorney: AUSA - Matthew Rosenbaum

  United States of America v.         Attorney Present for Defendant(s)           Language               Interpreter
  Anderson Sam Bonilla Echegoyen David Wasserman - Appointed
        CUSTODY




 PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE .

 Defendant is arraigned and states true name is as charged.

 Defendant is given a copy of the Indictment.

 Defendant acknowledges receipt of a copy and waives reading thereof.

 Defendant pleads not guilty to all counts in the Indictment.

 This case is assigned to the calendar of District Judge S. James Otero.
 It is ordered that the following date(s) and time(s) are set:
          Jury Trial 4/16/2019 at 9:00 AM
          Counsel are referred to the assigned judge's trial/discovery order located on the Court's website, Judges' Procedures
          and Schedules.




                                                                                                                  PIA: 00 : 02
                                                                                                  Initials of Deputy Clerk: JM
 cc: Statistics Clerk, PSALA USMLA




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http://156.131.20.221/CACD/PIA.NSF/6d0411fb39f80405882570cf0053d783/fdfd0c030f...                                   2/21/2019
